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                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

MARTIN PERRUSQUIA,                               ]
                                                 ]
       Plaintiff,                                ]
                                                 ]
v.                                               ]
                                                 ]       CASE NO: 14-BE-1542-S
EL POBLANO MEXICAN                               ]
RESTAURANT, and FIDEL CASTRO,                    ]
                                                 ]
       Defendants.                               ]
                                                 ]

                        FINAL ORDER APPROVING SETTLEMENT

       This matter comes before the court on the parties’ joint “Motion for Approval of

Settlement and Request for Dismissal with Prejudice.” (Doc 14). This case involves claims

under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”) and, therefore, requires

court approval of any settlement. See Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350,

1353 (11th Cir. 1982) (“When employees bring a private action for back wages under the FLSA,

and present to the district court a proposed settlement, the district court may enter a stipulated

judgment after scrutinizing the settlement for fairness.”).

       The court acknowledges that this order is a judicial approval of a settlement and not a

finding, conclusion, or reflection of any admission of a violation of the FLSA, willful,

intentional, or otherwise. The court has reviewed the parties’ joint Motion (doc. 14), the executed

Settlement Agreement attached to that motion (doc. 14-1), the status report filed April 15, 2015

(doc. 15), and the pleadings in this case. In light of the information obtained, the court finds that

bona fide disputes exist, such as the dates that the Plaintiff began work and the number of weeks


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that he worked for Defendant. Defendant has three witnesses to support its own calculation of

the number of weeks worked and to dispute the Plaintiff’s testimony on that issue. All parties

are represented by counsel who address these bona fide disputes. Accordingly, the court finds

that the settlement agreement between the parties reflects a fair and reasonable resolution of

those bona fide disputes.

       Therefore, the court ORDERS as follows:

       1.       The court APPROVES the settlement as a fair, reasonable, and adequate

                resolution of this dispute and GRANTS the joint Motion (doc. 14).

       2.       The court INCORPORATES by reference the Settlement Agreement (doc. 14-1)

                into this Order.

       2.       The court DISMISSES this case WITH PREJUDICE. For court administrative

                purposes, each party shall bear his or its own costs, attorneys’ fees, and expenses.

                However, such allocation for court administrative purposes does not affect the

                parties’ obligations for payment of costs, attorneys’ fees, and/or expenses

                described in the Settlement Agreement. In light of this Order, the court will NOT

                hold the status conference set for April 24, 2015.

       DONE and ORDERED this 20th day of April, 2015.


                                                      ____________________________________
                                                      KARON OWEN BOWDRE
                                                      CHIEF UNITED STATES DISTRICT JUDGE




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